
899 N.E.2d 1076 (2009)
PEOPLE STATE OF ILLINOIS, respondent,
v.
Jason M. SHARP, petitioner.
No. 100301.
Supreme Court of Illinois.
January 28, 2009.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, Fourth District, is directed to vacate its order in People v. Sharp, 355 Ill.App.3d 786, 292 Ill.Dec. 118, 825 N.E.2d 706 (2005). The appellate court is instructed to reconsider its decision in light of this Court's opinion in In re Rolandis G., case No. 99581, 2008 WL 4943446, ___ Ill.2d ___, ___ Ill.Dec. ___, ___ N.E.2d ___ (11/20/08), to determine whether a different result is warranted.
